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 4                                                                 Honorable Ricardo Martinez
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 6                         UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,          )
                                        )
 9               Plaintiff,             )           NO. CR19-203RSM
                                        )
10         vs.                          )           ORDER GRANTING MOTION TO SEAL
                                        )           APPENDIX 1 AND APPENDIX 2 TO
11   ANGELA ENCINCAS,                   )           SENTENCING
                                        )           MEMORANDUM
12               Defendant              )
                                        )
13   ___________________________________
14

15         Upon consideration of Defendant’s Motion to Seal Appendix 1 and Appendix 2 to
16   Defendant’s Sentencing Memorandum, the motion is GRANTED.
17         DATED this 11th day of January, 2021.
18

19

20
                                                  A
                                                  RICARDO S. MARTINEZ
                                                  CHIEF UNITED STATES DISTRICT JUDGE

21
           Dated this 11th day of January, 2021
22
                                                        /s/Peter Mazzone
23
                                                        Peter Mazzone WSBA #25262
24
                                                        Attorney for Defendant
25



     ORDER TO MOTION TO SEAL APPENDICES - 1                    MAZZONE LAW FIRM, PLLC
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                                                                     (425) 259-4989
